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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

THE CORPORATION FOR PUBLIC )
BROADCASTING, et al.                )
                                    )
      Plaintiffs,                   )
v.                                  )                 Case No. 1:25-cv-01305-RDM
                                    )
DONALD J. TRUMP, in his Official )
Capacity as President of the United )
States of America, et al.           )
                                    )
      Defendants.                   )

              MOTION TO ADMIT JEFFREY S. ROBBINS PRO HAC VICE

       Pursuant to Local Rule 83.2(e)(2), Plaintiff The Corporation for Public Broadcasting

hereby moves for the pro hac vice admission of Jeffrey S. Robbins, Esquire, as counsel in this

case. The undersigned is admitted to practice in good standing before this Court. The undersigned’s

appearance has been entered in this case.

       Attached to this motion is Mr. Robbins’ Declaration stating: 1) his full name; 2) his office

address and telephone number; 3) a list of all bars to which he has been admitted; 4) a certification

that he has not been disciplined by any bar; 5) the number of times he has been admitted pro hac

vice in this Court within the last 2 years; and 6) that he does not engage in the practice of law from

any office within the District of Columbia. Also attached to this motion is a Certificate of Good

Standing from the bar for the Commonwealth of Massachusetts.

                                       Respectfully submitted,


                                       By: /s/ Jason W. McElroy
                                       Jason W. McElroy (D.C. Bar No. 502733)
                                       Peter C. Nanov (D.C. Bar No. 230021)
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                                SAUL EWING LLP
                                1919 Pennsylvania Avenue NW, Suite 550
                                Washington, D.C. 20006
                                Tel: (202) 295-6605
                                jason.mcelroy@saul.com
                                peter.nanov@saul.com

                                Counsel for The Corporation for Public Broadcasting
Date: April 30, 2025




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                            CERTIFICATE OF SERVICE

     I hereby certify that I caused one copy of the foregoing MOTION TO ADMIT
JEFFREY S. ROBBINS PRO HAC VICE on all parties and counsel of record via the Court’s
CM/ECF system, who have made an appearance in this matter.




                                       /s/ Jason W. McElroy
                                       Jason W. McElroy




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